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 6
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 9
10                            UNITED STATES DISTRICT COURT
11                          NORTHERN DISTRICT OF CALIFORNIA
12
13   RONALD CUPP, an individual                    Case No. 4:23-cv-01007
14            Plaintiff,
                                                   DEFENDANTS TENNIS WICK, TYRA
15   vs.                                           HARRINGTON, MARK FRANCESCHI,
                                                   TODD HOFFMAN, JESSE CABLK AND
16                                                 ANDREW SMITH’S NOTICE OF
     COUNTY OF SONOMA, a municipal                 MOTION AND MOTION TO DISMISS
17   corporation; et al.                           COMPLAINT; MEMORANDUM OF
                                                   POINTS AND AUTHORITIES
18            Defendants.
                                                   Date: 08/17/23
19                                                 Time: 2:00 p.m.
                                           /       Courtroom: 6, 2nd Floor
20                                                 Judge: Jon S. Tigar
21
              TO PLAINTIFF RONALD CUPP AND HIS ATTORNEY OF RECORD:
22
              PLEASE TAKE NOTICE THAT on August 17, 2023 at 2:00 p.m., or as soon
23
     thereafter as the matter may be heard in Courtroom 6, 2nd Floor of the above-entitled
24
     Court located at Oakland Courthouse, 1301 Clay Street, Oakland, CA 94612, Defendants
25
     TENNIS WICK, TYRA HARRINGTON, MARK FRANCESCHI, TODD HOFFMAN,
26
     JESSE CABLK and ANDREW SMITH; (“County Defendants”) will and hereby do
27
     //
28



     Defendants Motion to Dismiss              1                             4:23-cv-01007
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 1   move this Court for an order granting dismissal of the Complaint for Declaratory Relief,
 2   Injunctive Relief and Damages filed on March 6, 2023, by Plaintiff Ronald Cupp.
 3          This Motion to Dismiss is brought pursuant to Federal Rules of Civil Procedure
 4   Rule 12 (b)(6), for dismissal of the complaint is warranted based on the following
 5   separate and independent grounds: Complaint fails to allege facts constituting a
 6   cognizable legal theory or a plausible claim.
 7             STATEMENT OF ISSUES
 8             (1) Whether the lawsuit is barred by the applicable statutes of limitations?
 9             (2) Whether the claims are barred by claims and issue preclusion?
10             (3) Whether Plaintiff pled sufficient facts to state a plausible cause of action
11   against the individual Defendants?
12             (4) Whether there is any basis for a taking claim against individual defendants?
13             (5) Whether individual Defendants are immune from Plaintiff’s claims?
14             (6) Whether claims for damages are barred under the California Constitution, art.
15   I, §13?
16             (7) Whether the Younger Abstention Doctrine prohibits federal court jurisdiction
17   over this lawsuit?
18             (8) Whether the Complaint should be barred since Plaintiff is a vexatious litigant?
19             This Motion to Dismiss is based on the attached Memorandum of Points and
20   Authorities in support, the accompanying Request for Judicial Notice, the papers and
21   pleadings on file herein, and on such further arguments or evidence as may be presented
22   prior to adjudication of the motion.
23   Dated: May 15, 2023,                          ROBERT H. PITTMAN, County Counsel
24
25                                                 By: /s/ Michael A. King
                                                         Michael A. King
26
                                                         Deputy County Counsel
27                                                       Attorneys for Defendants

28



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     Defendants’ Motion to Dismiss                      6                                  4:23-cv-01007
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 1                    MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.       INTRODUCTION
 3            The present Complaint for Declaratory Relief, Injunctive Relief and Damages
 4   filed herein by Plaintiff Ronald Cupp (“Plaintiff”), against various individual named
 5   employees of the County of Sonoma, lacks even less merit than the claims against the
 6   County itself. On its face the Complaint attempts to claim violations of Plaintiff’s civil
 7   rights by various individually named defendants without any recognition of Ronald
 8   Cupp’s own actions that precipitated the events.
 9            Plaintiff Ronald Cupp provided defective Waiver of Summons for the new
10   Complaint in this case, to the individually named (Tennis Wick, Tyra Harrington, Mark
11   Franceschi, Todd Hoffman, Jesse Cablk, and Andrew Smith) by leaving Waiver forms at
12   the Board of Supervisors’ office on March 15, 2023. When counsel for the County of
13   Sonoma had a chance to obtain permission to answer, he notified Plaintiff’s counsel of
14   the defective forms. New forms were provided by plaintiff’s counsel but dated as if they
15   were the original defective Waiver forms. In order not to unduly delay this matter further,
16   counsel for the County of Sonoma and the individually named defendants merely
17   returned the new Waivers with the incorrect dates.
18            This Court should dismiss Plaintiff’s claims against the County for several
19   independent reasons: (1) the claims for conduct more than 2 years prior to the filing of
20   the Complaint are barred by the statute of limitations; (2) Plaintiff claims are barred by
21   claim and issue preclusion; (3) No plausible claim is stated; (4) Individual Defendants are
22   not liable for a taking are immune from Plaintiff’s claims; (5) Claims for damages are
23   barred under the California Constitution (6) Defendants have immunity from State and
24   Federal law claims; (7) Defendants are entitled to resolve the administrative process
25   under the Younger abstention doctrine; (8) Plaintiff is a vexatious litigant
26   II.      STATEMENT OF THE CASE
27            These were the same claims brought against many of the same individuals which
28   and were dismissed for failure to state a plausible claim in the prior lawsuit. Almost all



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 1   the facts supporting this Complaint happened more than two (2) years before the action
 2   was filed. The facts and alleged and the same basic claims were raised in various
 3   pleadings filed in this Court in two prior actions: Northern District, Case No. 4:20-cv-
 4   03456 PJH and Case No. 22-cv-4307 PJH
 5          Plaintiff Ronald Cupp originally filed in pro per, the Complaint in Case No. 4:20-
 6   cv-03456 on May 21, 2020 in United States District Court, Northern District, against
 7   many of the same Defendants. He alleged the same or similar conduct that is alleged in
 8   this new Complaint. (RJN Ex. No. 1) After dismissal of many of these same defendants
 9   by this Court and active litigation of the claims for almost three years, Plaintiff Ronald
10   Cupp dismissed that Complaint with prejudice on March 30, 2023, just days before the
11   commencement of trial. (RJN Ex. No. 7)
12          Plaintiff Ronald Cupp filed in pro per, another Complaint of Damages for Civil
13   Rights Violations, including requested Declaratory Relief and Injunctive Relief on July
14   25, 2022; Case No. 22-cv-04307-TSH. (RJN Ex. No. 8) The second case alleged
15   essentially the same violations of civil rights against essentially the same defendants who
16   are named in the present case. This second case was deemed related to Case No. 4: 20-cv-
17   03456), by Related Case Order of the Honorable Phyllis Hamilton filed on August 2,
18   2022. Plaintiff then voluntarily dismissed the case without prejudice on August 26, 2022.
19   (RJN Ex. No. 9)
20          As discussed in greater detail in the Motion to Dismiss brought by the County of
21   Sonoma under “Nature of Action”, Plaintiff Ronald Cupp claims he is seeking
22   compensatory and injunctive relief to “redress violations of the Civil Rights Act of 1872,
23   42 U.S.C. § 1983, and the Fourth, Fifth and Fourteenth Amendments to the United States
24   Constitution, caused by Defendants, and each of them, acting under color of law, acting
25   to promote or enforce unconstitutional or unlawful practices, policies, procedures,
26   ordinances, resolutions, patterns of conduct, customs and usage of regulations adopted,
27   employed or ratified by policy-making supervisors in doing or causing the following to
28   occur.”



     Defendants’ Motion to Dismiss             8                             4:23-cv-01007
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 1          The County’s Motion to Dismiss sets out in detail the allegations used to support
 2   these claims, which are incorporated by reference herein to avoid repetition and
 3   duplication. (Dkt #12, pp. 8-12) While some allegations of fact are found in the
 4   Complaint, the bulk of discussion of the conduct of the individual defendants consists of
 5   conclusions and argument.
 6   III.   FRCP 12 MOTION TO DISMISS STANDARDS
 7          A claim for relief may also be dismissed under Federal Rule of Civil Procedure
 8   12(b)(6) for a “failure to state a claim upon which relief can be granted.” (Fed. R. Civ.
 9   Proc. 12(b)(6) (“Rule 12 (b)(6)”).) A request for dismissal under Rule 12(b)(6) may be
10   based on the lack of a cognizable legal theory, or the absence of sufficient facts alleged
11   under a cognizable legal theory. (Johnson v. Riverside Healthcare Sys., 534 F.3d 1116,
12   1121 (9th Cir. 2008).) To withstand a Rule 12(b)(6) motion to dismiss, a complaint must
13   contain sufficient factual matter, accepted as true, to state a claim for relief that is
14   plausible on its face. (Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009).) Determining whether
15   a complaint states a plausible claim for relief will, as the Court of Appeals observed, be a
16   context-specific task that requires the reviewing court to draw on its judicial experience
17   and common sense. Ashcroft, Id. 556 U.S. at 679.
18          Bare assertions which amount to “nothing more than a formulaic recitation of the
19   elements” of a claim for relief are conclusory and not entitled to be assumed true. (Iqbal,
20   129 S. Ct. at p. 1951, quoting Bell Atlantic v. Twombly, 550 U.S. 544, 555 (2007).)
21   "[C]onclusory allegations of law and unwarranted inferences are insufficient to defeat a
22   motion to dismiss for failure to state a claim." Epstein v. Wash. Energy Co., 83 F.3d 1136,
23   1140 (9th Cir. 1996) .
24          When considering a motion to dismiss, the Court may consider undisputed matters
25   of public record through a request for judicial notice, including state court records.
26   (United States ex rel. Robinson Rancheria Citizens Council v. Borneo, Inc., 971 F.2d 244,
27   248 (9th Cir. 1992); Busch v. Torres, 905 F.Supp. 766, 769, fn. 1 and 2 (C.D. Cal. 1995)).
28



     Defendants’ Motion to Dismiss               9                              4:23-cv-01007
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 1          Leave to amend should be denied if it is clear that the deficiencies in the complaint
 2   cannot be cured by amendment. (See Lopez v. Smith, 203 F.3d 1122, 1130 (9th Cir. 2000);
 3   Noll v. Carlson, 809 F.2d 1446, 1448 (9th Cir. 1987))
 4   IV.    LEGAL ANALYSIS
 5          A. Plaintiff’s Claims Against All Individual Defendants Are Barred by the
               Statute of Limitations With One Possible Exception
 6          With the exception of whatever attempt is being made to claim conduct of Jesse
 7   Cablk in July 2022, the claims and counts should be dismissed since they involve conduct
 8   that took place more than two (2) years before the filing of this Complaint on March 6,
 9   2023. Where the facts and dates alleged in the complaint indicate the claim is barred by
10   the statute of limitations, a motion to dismiss is appropriate. Jones v. Brock (2007) 549
11   U.S. 199, 215.
12          Plaintiff’s federal constitutional claims for violation of the Fourth and Fourteenth
13   Amendments, brought pursuant to 42 U.S.C. §1983, are barred by the statute of
14   limitations because Plaintiff filed his Complaint more than two years after most of the
15   events detailed in the Complaint. See California Code of Civil Procedure §335.1 (two-
16   year statute of limitations for personal injury in California); Albright v. Oliver, 510 U.S.
17   266, 271 (1994) (“Section 1983 is not itself a source of substantive rights, but merely
18   provides a method for vindicating federal rights elsewhere conferred.” (Internal citations
19   omitted)).
20          Since 42 U.S.C. §1983 does not contain a statute of limitations, federal courts
21   borrow the personal injury statute of limitations from the state in which the action arose.
22   Owens v. Okure 488 U.S. 235 (1989); Wilson v. Garcia 471 U.S. 261 (1985). The Ninth
23   Circuit has looked to California’s general personal injury statute of limitations for §1983
24   lawsuits. Del Perico v. Thornsley 877 F.2d 785 (9th Cir. 1989) (applying former
25   California Code of Civil Procedure § 340(3)). California’s current statute of limitations
26   for personal injury actions is contained in California Code of Civil Procedure §335.1,
27   which provides a two-year statute of limitations.
28



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 1          To the extent that the claims or causes of action arise from or involve the
 2   numerous events that occurred before March 6, 2021, Plaintiff is barred from recovery for
 3   any alleged conduct. Any attempt to claim the statute does not run by alleging injunctive
 4   and declaratory relief, does not save it. The Ninth Circuit, in Levald, Inc. v. City of Palm
 5   Desert, 998 F.2d 680 (9th Cir. 1993), rejected the argument that the personal injury statute
 6   of limitations (then one year) is inapplicable to a claim for declaratory relief. In so
 7   holding, the Court of Appeals stated:
 8
            To prevent plaintiffs from making a mockery of the statute of limitations by the
 9          simple of expedient of creative labelling -- styling an action as one for declaratory
            relief rather than for damages – courts must necessarily focus upon the substance
10          of an asserted claim as opposed to its form. It is settled, therefore, that where legal
11          and equitable claims coexist, equitable remedies will be withheld if an applicable
            statute of limitations bars the concurrent legal remedy. Id. at 688
12
     Just as in Levald, the declaratory relief and injunctive relief claims for conduct prior to
13
     March 6, 2021, is barred.
14
            B. Plaintiff is Precluded from Litigating These Claims
15
            Ronald Cupp brought an action in pro per in this Court in May 2020 against the
16
     County of Sonoma and some of these same individual defendants: Andrew Smith, Tennis
17
     Wick, Tyra Harrington, Mark Franceschi, and a clerical staff employee. (RJN Ex. No. 1)
18
     Defendants Andrew Smith, Tennis Wick, Tyra Harrington, and Mark Franceschi actively
19
     litigated claims brought against them under 42 U.S.C. §1983 for unlawful search under
20
     the 4th Amendment to the U.S. Constitution, violation of due process rights under the 5th
21
     Amendment and 14th Amendment, conspiracy and trespass. These same claims are
22
     included in this new Complaint against many of the same defendants.
23
            Tennis Wick, Tyra Harrington, Mark Franceschi, and the County of Sonoma were
24
     dismissed from the Complaint and the First Amended Complaint on Rule 12(b)(6)
25
     motions for many of the same reasons as support this Motion to Dismiss. (RJN Ex. Nos.
26
     3 and 5 )
27
            The doctrine of res judicata, or claim preclusion, “‘bars all grounds for recovery
28
     which could have been asserted, whether they were or not, in a prior suit between the


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 1   same parties … on the same cause of action.’” (C.D. Anderson & Co., Inc. v. Lemos, 832
 2   F.2d 1097, 1100 (9th Cir. 1987) (citing McClain v. Apodaca, 793 F.2d 1031, 1033 (9th
 3   Cir. 1986). In order to preclude claims previously adjudicated, "[t]he central criterion in
 4   determining whether there is an identity of claims between the first and second
 5   adjudications is whether the two suits arise out of the same transactional nucleus
 6   of facts." See Seymour v. Nationstar, 2020 U.S. Dist. LEXIS 27402 at *4 (quoting Owens
 7   v. Kaiser Foundation Health Plan, Inc., 244 F.3d 708, 714 (9th Cir. 2001))
 8          "The Court must also consider: '(1) whether rights or interests established in the
 9   prior judgment would be destroyed or impaired by prosecution of the second action; (2)
10   whether substantially the same evidence is presented in the two actions; (3) whether the
11   two suits involve infringement of the same right; and (4) whether the two suits arise out
12   of the same transactional nucleus of facts.'" Seymour, Id. *11, (quoting Headwaters Inc. v.
13   U.S. Forest Serv., 399 F.3d 1047, 1052 (9th Cir. 2005)); see also Costantini v. Trans
14   World Airlines, 681 F.2d 1199, 1201-02 (9th Cir. 1982)) "A plaintiff need not bring every
15   possible claim. But where claims arise from the same factual circumstances, a plaintiff
16   must bring all related claims together or forfeit the opportunity to bring any omitted claim
17   in a subsequent proceeding." Seymour, Id. *12 (quoting Turtle Island Restoration
18   Network v. U.S. Dep't of State, 673 F.3d 914, 918 (9th Cir. 2012)). "Newly articulated
19   claims based on the same nucleus of facts may still be subject to a [claim preclusion]
20   finding if the claims could have been brought in the earlier action." Seymour, Id. *12
21   (quoting Tahoe-Sierra Pres.Council, Inc. v. Tahoe Reg’l Planning Agency, 322 F.3d 1064,
22   1078; United States ex rel. Barajas v. Northrop Corp., 147 F.3d 905, 909 (9th Cir. 1998)).
23          "The two doctrines [claim preclusion and issue preclusion] are based on the same
24   general principle: After a claim or issue is properly litigated, that should be the end of the
25   matter for the parties to that action." Littlejohn v. U.S., 321 F.3d 915, 919 (9th Cir. 2003).
26   Both doctrines require a final judgment on the merits and that the party against whom the
27   doctrine is being asserted was a party or in privity with a party in the prior proceeding.
28



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 1   See Hydranautics v. FilmTec Corp., 204 F.3d 880, 885 (9th Cir. 2000) (issue preclusion);
 2   Stewart v. U.S. Bancorp, 297 F.3d 953, 956 (9th Cir. 2002) (claim preclusion).
 3          The scope of the doctrines is different, however. In particular, "the doctrine of
 4   issue preclusion prevents relitigation of all 'issues of fact or law that were actually
 5   litigated and necessarily decided' in a prior proceeding." Robi v. Five Platters, Inc., 838
 6   F.2d 318, 322 (9th Cir. 1988) (quoting Segal v. American Tel. & Tel. Co., 606 F.2d 842,
 7   845 (9th Cir.1979)). In contrast, claim preclusion bars "all grounds for recovery which
 8   could have been asserted, whether they were or not, in a prior suit between the same
 9   parties . . . on the same cause of action." Costantini v. Trans World Airlines, 681 F.2d
10   1199, 1201 (9th Cir. 1982).
11          "The phrase 'final judgment on the merits' is often used interchangeably with
12   'dismissal with prejudice.'" See Federated Dep't Stores v. Moitie, 452 U.S. 394, 399 n.3,
13   (1981); (dismissal under Rule 12(b)(6) constitutes final adjudication on the merits for
14   purposes of res judicata); Herrera v. Countrywide KB Home Loans, 2012 U.S. Dist.
15   LEXIS 35400, at *5 (N.D.Cal. 2012).
16          Plaintiff expressly raised the claims about the July 30, 2020 inspection with the
17   warrant supported, and the shut-off of electricity to the unpermitted commercial cannabis
18   operation to avoid the very real potential of a fire in Case No. 20-cv-3456 PJH. That
19   issue was litigated before this Court and denied. (RJN Ex. No. 2). The trespass claim for
20   February 15, 2019 was disposed of on summary judgment. (RJN Ex. No. 6). All of these
21   issues and any related to these various events, including the opportunity to bring a proper
22   Monell claim, were litigated and adjudicated in Case No. 4:20-cv-03456, which was
23   dismissed with prejudice. The claims against individual defendants Tennis Wick, Tyra
24   Harrington, Mark Franceschi, Todd Hoffman (for July 2020 inspection), and especially
25   Andrew Smith have been fully litigated. (RJN Ex. No. 7).
26          The alleged drone activity in June 2022, happened during the course of the
27   litigation by Ronald Cupp against the County and Andrew Smith. Plaintiff Ronald Cupp
28   included this issue in his Complaint filed in late July 25, 2022 in Northern District Case



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 1   No. 4:22-cv-4307, but quickly dismissed it on August 26, 2022. (RJN Ex. No. 8 and 9).
 2   For purposes of this motion, this is the only possible claim that is not barred by the statute
 3   of limitations or issue preclusion. It is factually in error and will be subject to a motion
 4   for summary judgment. Every other Federal and State law claim should be dismissed on
 5   both claims and issue preclusion.
 6          C. Claim against Individual Defendant Cablk and Hoffman Fail to State a
               Plausible Claim
 7
            The remaining claim against Jesse Cablk and Todd Hoffman for conduct in June
 8
     2022, fails to state a plausible claim. The Complaint only concludes “on information and
 9
     belief” that two Defendants flew a drone over the subject property without a warrant,
10
     acting pursuant to policies and practices. (Dkt #1, ¶86). This allegation falls far short of
11
     stating any plausible claim. Even if the allegation was true, aerial observations of the
12
     curtilage of a home are not prohibited by the Fourth Amendment. See Florida v. Riley,
13
     488 U.S. 445, 452 (1989); California v. Ciraolo, 476 U.S. 207, 213 (1986).
14
            D. Individual Defendants Are Not Liable for Any Claimed “Taking” in
15             Count Two
16          As noted in the Motion to Dismiss brought by the County of Sonoma, (Dkt #12,
17   pp. 16-17), this claim fails completely since the Complaint clearly does not allege a
18   “physical taking” of the property only the electrical meters. Defendants incorporate that
19   authority herein for purposes of economy and brevity.
20          “Count Two” claims to involve a violation of the Fifth Amendment against
21   individuals. By definition, the taking is not by a private person for private purposes, and
22   the property does not belong to a private person who must accordingly pay just
23   compensation out of private funds. Bridge Aina Le'a, LLC v. State of Haw. Use Comm'n
24   125 F. Supp. 3d 1051, 1078-79 (D. Haw. 2015). The individual defendants in their
25   individual capacities, are also not “persons” under §1983 and cannot be held liable for
26   monetary damages under §1983.Thornton v. Brown, 757 F.3d 834, 839 (9th Cir. 2013);
27   Bridge Aina Le'a, LLC, 125 F. Supp. 3d at 1054.
28



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 1          E. Plaintiff Cannot Recover for Damages Under California Constitution
 2          As noted in the County’s Motion to Dismiss and Reply Memorandum this Court
 3   has found that Cal.Const. Art. I, §13, does not permit actions for money damages. Wigfall
 4   v. City and County of San Francisco, 2007 U.S. Dist. LEXIS 82047 at *5-6 (N.D. Cal.
 5   2007); see also Roy v. Cnty. of L.A., 114 F. Supp. 3d 1030, 1042-1043 (C.D. Cal. 2015).
 6          F. Defendants Are Not Liable for State and Federal Law Claims
 7          The individual Defendants (employees) are entitled to statutory immunity from
 8   Plaintiff’s state-law damages claims. Section 820.2 of the California Government Code
 9   provides broad immunity for discretionary policy decisions. Calif. Gov’t Code § 820.2;
10   see Johnson v. State, 69 Cal. 2d 782, 793 (1968) (courts should not be placed in “the
11   unseemly position of determining the propriety of decisions expressly entrusted to a
12   coordinate branch of government”.)
13          Furthermore, even if a plaintiff plausibly alleges the deprivation of a constitutional
14   right under color of state law, government officials are protected from liability for civil
15   damages by the doctrine of qualified immunity "unless a plaintiff pleads facts showing
16   (1) that the official violated a statutory or constitutional right, and (2) that the right was
17   'clearly established' at the time of the challenged conduct.” Wood v. Moss, 572 U.S. 744,
18   758 (2014). The doctrine of qualified immunity protects government officials "from
19   liability for civil damages insofar as their conduct does not violate clearly established
20   statutory or constitutional rights of which a reasonable person would have known."
21   Pearson v. Callahan, 555 U.S. 223, 231 (2009).
22          Plaintiff does not allege that any right allegedly violated was clearly established,
23   probably since no rights were ever established and in fact, have mostly been adjudicated
24   against this Plaintiff in the prior case.
25          G. Case Should be Dismissed Based Upon Younger Abstention Doctrine
26          As noted in the County’s Motion to Dismiss, all the facts and circumstances
27   leading to inspections, the notice of violations of County codes, requests to abate
28   unpermitted and nuisance conditions at the Property, and requests for civil penalties;



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 1   resulted in an administrative hearing with a Decision by Hearing Officer on February 11,
 2   2021. The basis for dismissal of Plaintiff’s claims against these defendants pursuant to
 3   Younger v. Harris, 401 U.S. 37, (1969) is fully set out in the County’s Motion (Dkt #12,
 4   pp. 18-20) and Reply Memorandum (Dkt #18,pp. 3-4).
 5          Until a decision is reached in that matter, and any opportunity for appeal has
 6   expired; than this matter would appropriately be dismissed under the Younger abstention
 7   doctrine.
 8          H. Case Should be Dismissed Since Plaintiff is a “Vexatious Litigant”
 9          The individual Defendants join in the authority presented by the County of
10   Sonoma regarding this Court’s right to deny further access to this Court for similar
11   attempts by Ronald Cupp to re-litigate issues that have already been litigated and
12   adjudicated against him in this Court. As noted in the Motion to Dismiss, (Dkt #12,
13   p. 20), and the Reply Memorandum (Dkt #18, p.4: 13-20), a district court has the inherent
14   power to regulate activities of abusive litigants under the All Writs Act.
15   V.     CONCLUSION
16          Plaintiff is improperly creating controversy where it does not exist. He makes
17   broad and untimely accusations, against a variety of individual defendants without legal
18   justification. These defendants request dismissal.
19
20   Dated: May 15, 2023                      ROBERT H. PITTMAN, County Counsel
21
22                                              By: /s/ Michael A. King
                                                    Michael A. King
23                                                 Attorneys for Defendants
24
25
26
27
28



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